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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                        PL FCTRONICA 1 LY FfLFIJ ;
------------------------------------------------------------X        DOC#:
THE PROFESSIONAL STAFF CONGRESS/
CUNY,                                                                DATEF11.[n,.11r~~S) /1
                                   Plaintiff,
                 -against-                                             20 CIVIL 5060

                                                                       JUDGMENT
FELIX V. MATOS RODRIGUEZ, Chancellor of
the City University ofNew York, in his official
Capacity; and THE CITY UNIVERSITY OF
NEW YORK.

                                   Defendants.
-----------------------------------------------------------X

         It is hereby   ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Order dated November 9, 2020, CUNY's motions to dismiss with prejudice

is granted and judgment is entered in favor of defendants.

Dated: New York, New York

          November 9, 2020


                                                                      RUBY J. KRAJICK

                                                                        Clerk of Court
                                                               BY:

                                                                        ~
